     Case: 1:17-cv-09286 Document #: 96 Filed: 09/06/19 Page 1 of 10 PageID #:1084




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

DEVON BANK as the Guardian of the Estate of                   )
ALAYNA HIKE, a minor, and                                     )
RHONDA JONES, Individually,                                   )
                                                              )
               Plaintiffs,                                    )      Case No.: 1:17-cv-09286
                                                              )
v.                                                            )
                                                              )
UNITED STATES OF AMERICA, and VHS WEST                        )
SUBURBAN MEDICAL CENTER, INC. d/b/a                           )
WEST SUBURBAN MEDICAL CENTER                                  )
                                                              )
               Defendants.                                    )

        PLAINTIFFS’ MOTION FOR SETTLEMENT/PRETRIAL CONFERENCE

         NOW COME, the Plaintiffs, DEVON BANK, as Guardian of the Estate of ALAYNA

HIKE, a Minor and RHONDA JONES, Individually, by and through their attorneys, Beam Legal

Team, LLC, and submit the following Plaintiffs’ Motion for Settlement/Pretrial Conference. In

support thereof, the Plaintiffs would respectfully show unto the court the following:

        1.     Alayna Hike is now almost three years old and suffers from severe hypoxic-

ischemic encephalopathy, mental and motoric delays, a seizure disorder, and spastic quadriplegic

cerebral palsy. Alayna is so devastated from her brain damage that even the defense expert life

care planners agree that she will require 24/7/365 supervision and attendant care for the rest of her

life. See Excerpt of the Deposition of Lawrence Vogel, M.D., Exhibit A at 57:9-14; see also

Excerpt of the Deposition of Richard Katz, M.D., Exhibit B at 88:10-13.

        2.     The cause of Alayna’s devastating brain damage is a lack of oxygen and blood to

her brain in the final hour before her delivery. It is undisputed in this case that had Alayna been




                                                 1
      Case: 1:17-cv-09286 Document #: 96 Filed: 09/06/19 Page 2 of 10 PageID #:1085




delivered earlier by Cesarean section, she would be a neurologically intact and healthy little girl

today.

         3.    The Defendants in this case, West Suburban Medical Center (“Defendant

Hospital”) and the United States of America (by virtue of the Federal Tort Claims Act) grossly

mismanaged Alayna’s mother’s labor admission, violating Illinois law and the standard of care in

the process causing the child’s injury. The Defendants’ witnesses and even experts have admitted

it.

         4.    Briefly, Alayna’s mother, Rhonda Jones, came to the Defendant Hospital on

December 1, 2016 complaining of contractions, headache, and dizziness. After a triage assessment,

Ms. Jones was admitted to the Defendant Hospital with a diagnosis of severe preeclampsia –

hypertensive disease in pregnancy – for an induction of labor. See History & Physical, Exhibit C.

Ms. Jones and baby Alayna were admitted by three “deemed” USA Family Practice doctors (not

OB/GYNs): Morgan Madison, M.D., Rebecca DeHoek, M.D., and Sveva Brown, M.D.

         5.    The Defendant Hospital, under Illinois law, is known as a Level II Perinatal

Facility. See Discovery Response, Exhibit D. Pursuant to the State of Illinois Regionalized

Perinatal Health Care Code, Level II facilities must consult and ultimately transfer any

maternal patient with a diagnosis of “severe preeclampsia.” Ill. Admin. Code tit. 77, § 640.42

(outlining when Level II Facility must consult with maternal fetal medicine specialist regarding

specific patients); see also Ill. Admin. Code tit. 77, § 640 App. H, Exh. B (appendix requiring

“transfer” of patients with “Severe pre-eclampsia.”). Despite the mandate of Illinois law to consult

on and ultimately transfer Ms. Jones due to her diagnosis of severe preeclampsia, no doctor or

nurse ever even called an OB/GYN or maternal fetal medicine specialist to discuss Ms. Jones.

Instead, she was allowed to labor in this Level II facility in violation of Illinois law.



                                                   2
   Case: 1:17-cv-09286 Document #: 96 Filed: 09/06/19 Page 3 of 10 PageID #:1086




       6.      Plaintiffs’ maternal-fetal medicine expert, Ben Hamar, M.D., testified:

       And in those rules [Administrative Code Re Perinatal Care], it sets out guidelines
       about which conditions are appropriate to be able to be care for at the institution
       and which require a consultations with a Maternal-Fetal Medicine subspecialist.
       And there is a specific list of conditions, which is included in an appendix…In that
       appendix it specifically lists as a condition – a maternal condition for transfer
       severe preeclampsia or eclampsia.

       So based on the hospital policy, [the Defendant Hospital’s] agreement with
       Northwestern, and the applicable rules and regulations that govern that and
       are referred within that, this patient should have been transferred.

See Excerpt of the Deposition of Benjamin Hamar, M.D., Exhibit E at 63:18-64:11. This

conclusion is undisputed in this case as both the Hospital’s retained liability experts, Maternal

Fetal Medicine doctor Phillip Samuels, M.D. and former obstetrical nurse Katherine McDannel,

R.N. agree that the Illinois Administrative Code required Ms. Jones be transferred. See Excerpt of

the Deposition of Phillip Samuels, M.D., Exhibit F at 93:9-98:14; see also Excerpt of the

Deposition of Katherine McDannel, R.N., Exhibit G at 26:4-32:9.

       7.      After reviewing the relevant Administrative Code, the DEFENSE EXPERT

Maternal Fetal Medicine doctor testified:

       Q:      If we go over to Exhibit 4, that’s the Appendix H written protocol for
               consultation, transfer, transport. Do you have that?
       A:      I’ve got it.
                                                ****
       Q:      And of Subsection 2, Maternal Conditions that Require Transfer, did Ms.
               Jones fit any of those, A through J?
       A:      Well, she fits J.
       Q:      That’s because she had severe preeclampsia, true?
       A:      Correct.
                                                ****
       Q:      So under the administrative code that we just walked through, Ms.
               Jones should have been transferred due to her severe preeclampsia?
                                                ****
       A:      According to the document, yes, she should’ve been transferred.




                                                3
   Case: 1:17-cv-09286 Document #: 96 Filed: 09/06/19 Page 4 of 10 PageID #:1087




Exhibit F at 96:24-98:14 (emphasis added) (objections omitted). Similarly, the DEFENSE

EXPERT nurse testified:

       Q:      So this is the Illinois code standard for patients who should be consulted on
               or transferred out of Level II facilities, true?
       A:      That’s its title, yes.
       Q:      And if you look at Exhibit 3, Subsection 2, there are a list of maternal
               conditions that require transfer under the Illinois standard, correct?
       A:      That’s the title.
       Q:      And subparagraph J of subparagraph 2 includes specifically a
               diagnosis of severe preeclampsia as a diagnosis that would require
               transfer to a higher level facility, correct?
       A:      That’s what this document says.
                                                 ****
       Q:      And we certainly will, and that’s why I qualified my question by this
               document published by the Illinois Department of Public Health, would
               you agree with the plain reading of it that Ms. Jones’ diagnosis of severe
               preeclampsia mandated her transfer to a higher level facility, correct?
                                                 ****
       A:      It’s listed here, yes.

Exhibit G at 30:15-32:2 (emphasis added) (objections omitted). But, Ms. Jones was never

transferred.

       8.      Making matters worse, after admitting Ms. Jones to its own facility in violation of

Illinois law, the attendings, residents, and nurses failed to continuously monitor Ms. Jones’ and

her baby during the high-risk admission as was indisputably required under the standard of care

until the baby was found to have a terminal bradycardia causing the severe brain damage. This

time, it was the deemed USA Family Practice attendings who admitted to violating the standard

of care. One of the DEFENDANT ATTENDINGS, Rebecca DeHoek, M.D., testified:

       Q:      You told me earlier that the [Hospital Fetal Monitoring] policy required that
               there be a steady, uninterrupted signal for continuous fetal monitoring,
               correct?
       A:      Correct.
       Q:      You agreed with me that the standard of care required continuous fetal
               monitoring for high-risk patients like Ms. Jones, correct?
       A:      Correct.



                                                 4
   Case: 1:17-cv-09286 Document #: 96 Filed: 09/06/19 Page 5 of 10 PageID #:1088




       Q:      Do we know agree that there was not a stead, uninterrupted signal for
               the vast majority of her labor?
       A:      Correct.
       Q:      The [Hospital] policy was violated, correct?
       A:      Yes.
       Q:      And the standard of care was violated, too, right?
                                              ****
       A:      Yes.

See Excerpt of the Deposition of Rebecca DeHoek, M.D., Exhibit H at 134:24-135:20 (emphasis

added) (objections omitted). Yet another one of the deemed USA Family Practice doctor

attendings, Sveva Brown, M.D., admitted the providers were negligent caring for Ms. Jones and

her baby, testifying:

       Q:      And we’ve looked at that [Hospital Fetal Monitoring] policy at the
               beginning of your deposition, you agree that the policy stated that there
               should be a steady, uninterrupted, continuous signal for patients who are on
               continuous fetal monitoring; correct?
       A:      Correct.
       Q:      That wasn’t done here, was it?
       A:      It was not.
       Q:      Was that policy violated, in that there was not a steady uninterrupted signal
               maintained for Ms. Jones and her baby?
       A:      It was.
       Q:      And you also agreed with me at the beginning of the deposition that, for
               any high-risk patient like Ms. Jones, continuous fetal monitoring is
               required under the standard of care; correct?
       A:      I agree. Correct.
       Q:      You likewise agree[] that the standard of care was violated since there
               was not a continuous, steady, uninterrupted fetal heart rate signal for this
               mom and baby?
       A:      I agree.
                                               ****
       Q:      If Alayna had been delivered prior to her heart rate becoming bradycardic,
               do you have an opinion whether or not she would have avoided the acidosis,
               perinatal depression, and subsequent hypoxic ischemic brain injury she was
               diagnosed with?
                                               ****
       A:      I would have to say that, if the baby was not bradycardic, that there
               would be no – no injury to the baby.




                                                 5
    Case: 1:17-cv-09286 Document #: 96 Filed: 09/06/19 Page 6 of 10 PageID #:1089




See Excerpt of the Deposition of Sveva Brown, M.D., Exhibit I at 115:6-116:18 (emphasis added)

(objections omitted). But, this mom and baby were not properly monitored, nor timely delivered

and innocent baby Alayna is left suffering the tragic consequences every single day for the rest of

her life.

         9.       At this Court’s initial direction, the parties engaged in settlement discussions in

early 2019. By agreement, the parties conducted a mediation with the former Illinois Appellate

Court Justice Michael Gallagher in June.1 Since then, Justice Gallagher has been diligently

working with all parties, on a nearly daily basis, to reach an agreed settlement. However, as of the

date of this filing, the parties have not come to terms on an agreement and Plaintiffs remain in

active but separate negotiations with the USA and the Defendant Hospital.

         10.      At a status conference before Your Honor on August 14, Plaintiffs advised the

Court that the parties were in settlement negotiations but were at a near stalemate regarding some

of the non-monetary terms of the settlement insisted upon by the Defendant USA. Further,

Plaintiffs proposed that settlement may be facilitated if Your Honor were to become involved in

some way in the discussion. The Court advised it would reach out to Justice Gallagher to assess

the status of the negotiation, if the Defendants did not object. Apparently, while never

contemporaneously communicated to the Plaintiffs, the Defendant USA advised Your Honor that

it objected to the Court’s participation in settlement discussions. Thus, to date, Your Honor has

not taken on any role in these ongoing discussions.

         11.      There is an amount the USA has offered, but at this juncture it is not a concrete

number.2 The Defendant USA insists any settlement is conditioned upon placing 50% of the gross


1
  Since the USA could not pay for a private mediator, Plaintiffs agreed to pay 2/3 of all of Justice Gallagher’s fees
related to mediation, which is over and above good faith effort to attempt resolution for this tragic case.
2
  In compliance with the rules of evidence and ethical considerations, Plaintiffs will not discuss any of the specific
terms of the settlement discussions in this pleading and/or in open court.

                                                           6
      Case: 1:17-cv-09286 Document #: 96 Filed: 09/06/19 Page 7 of 10 PageID #:1090




amount paid by the government into a “Reversionary Trust.” A Reversionary Trust is a legal trust

created to be used for the benefit of the injured party – here Alayna – for the life of the child. Then,

when the child dies the amount remaining in the trust reverts back to the government and is not

distributed with the child’s estate. Given that the lawsuit and concept of compensatory damages

are to benefit Alayna and make her “whole,” the concept of a reversionary trust is not outright

rejected.3 However, in this instance, the government is insisting upon so many limitations and

restrictions as to how the trust money can be utilized for Alayna’s benefit that it renders the entire

settlement ephemeral, if not illusory.

           12.       It is critical to note that there is absolutely no statute, case law, authority, or even

(to Plaintiffs knowledge) infamous Department of Justice Internal Policy which requires any

plaintiff be subject to a reversionary trust, either with a judgment or settlement.

           13.       That said, Federal Courts have weighed in on the concept of a reversionary trust

and have universally found no requirement it be utilized for any party. The Third Circuit Court of

Appeals held “in administering the [FTCA], a district court should not make other than a lump-

sum money judgment unless and until Congress shall authorize a different type of award.” Frankel

v. Heym, 466 F.2d 1226 (3d Cir. 1972) at 1228-1229. The Tenth Circuit Court of Appeals further

held that district courts do have the inherent authority to order parties to place a money judgment

into a reversionary trust if such an arrangement is in the best interest of the injured party, such as

the extreme instance where there is concern the natural heirs of the party may kill the individual

to obtain an inheritance. Hull by Hull v. U.S., 971 F.2d 1499 (10th Cir. 1992) at 1504. The most

recent Appellate case discussing this issue is out of the Fifth Circuit Court of Appeals where the

Court declared, like here, “the government fails to point to any authority, in the FTCA or



3
    In fact, Plaintiffs’ counsel has settled other cases with the USA using a reversionary trust.

                                                              7
    Case: 1:17-cv-09286 Document #: 96 Filed: 09/06/19 Page 8 of 10 PageID #:1091




elsewhere, that requires the district court to fashion a remedy that approximates [a reversionary

trust] treatment of future medical care damages.” Vanhoy v. U.S., 514 F.3d 447 (5th Cir. 2008) at

453-455. The Fifth Circuit Court held

        Like the First and Third Circuits before us, we refuse to deviate from the
        conventional lump-sum award by insisting that, absent particular circumstances
        (none of which are present here), the district court create a reversionary trust – at
        least not until or unless Congress expressly authorizes such an arrangement.

Id at 455. Congress has never authorized any such arrangement under the FTCA.

        14.      Plaintiffs understand that the cases cited, supra, deal with judgments, not

settlements. Plaintiffs further recognize and agree that a reversionary trust can be a mutually agreed

condition of a settlement in a civil case. Plaintiffs further advise that they are willing to accept a

reversionary trust as part of a settlement with the USA in this case. However, where an innocent

child was so devastatingly injured by such obvious and admitted negligence, it is unconscionable

for Plaintiffs to accept terms to a reversionary trust, which is not legally required, where Alayna

will have little to no access to the money within the trust to take care of her most basic needs:

housing, transportation, or reasonable attendant care.

        15.      Therefore, Plaintiffs renew their request for Your Honor to conduct a settlement

conference between Plaintiffs and the Defendant United States limited in scope to discussing the

terms of the proposed reversionary trust.4 Plaintiffs strongly believe that Your Honor’s input may

facilitate movement in this otherwise intractable negotiation and possibly even resolve this case as

to the United States.

        16.      Plaintiffs are now aware that the Defendant United States objects to Your Honor’s

participation because it somehow believes it is improper for the Court, as the ultimate fact-finder



4
 Plaintiffs are not requesting the Court become involved in the ongoing negotiations between the Hospital and the
Plaintiffs.

                                                         8
   Case: 1:17-cv-09286 Document #: 96 Filed: 09/06/19 Page 9 of 10 PageID #:1092




in this FTCA case, to become involved in settlement discussions. However, at a bench trial, the

Court will be tasked (as all court’s conducting bench trials are) to weigh the relevant and

admissible evidence when reaching its conclusions while excluding from consideration irrelevant

or inadmissible information it may discover throughout the course of a case or trial. This should

be no different. But, should the Court feel restrained by the United States’ continued objection to

its participation, Plaintiffs request a referral to a Magistrate Judge for a pre-trial settlement

conference for the same limited purpose of discussing the terms of the proposed reversionary trust

with the Plaintiffs and Defendant United States.

       WHEREFORE, Plaintiffs respectfully request that this Court grant Plaintiffs’ Motion for

Settlement/Pretrial Conference.



Dated: September 6, 2019

                                             Devon Bank, as Guardian of the Estate of
                                             ALAYNA HIKE, and RHONDA Jones,
                                             individually, Plaintiff.

                                             By counsel,

                                             /s/ Matthew Patterson
                                             Jack Beam, Esq. (6285383)
                                             Matthew M. Patterson, Esq. (6316641)
                                             Ryan Timoney, Esq. (6324756)
                                             BEAM LEGAL TEAM LLC
                                             954 W. Washington Blvd, Suite 215
                                             Chicago, IL 60607
                                             Phone: 312-733-0930
                                             Fax: 312-733-0921
                                             jbeam@beamlegalteam.com
                                             mpatterson@beamlegalteam.com
                                             rtimoney@beamlegalteam.com
                                             Attorneys for Plaintiffs




                                                   9
  Case: 1:17-cv-09286 Document #: 96 Filed: 09/06/19 Page 10 of 10 PageID #:1093




                                 CERTIFICATE OF SERVICE

         I, Matthew M. Patterson, of Beam Legal Team, LLC, counsel for Plaintiffs, hereby
certify that on September 6, 2019, I electronically filed Plaintiffs’ Motion For Settlement/Pretrial
Conference with the Clerk of the Court using the CM/ECF system which will send notification to
the following CM/ECF participants. I further certify that on this date, a copy of same was sent to
all counsel of record via electronic mail as indicated below.

Jimmy Arce, Esq./Tom Walsh, Esq.
219 South Dearborn St.
Chicago, IL 60604
JArce@usa.doj.gov; TWalsh@usa.doj.gov
Attorneys for Defendant USA

Carmel M. Cosgrave, Esq./Dana Raymond, Esq.
Smith Amundsen LLC
150 N. Michigan Ave., Ste. 3300
Chicago, IL 60601
ccosgrave@salawus.com; draymond@salawus.com
Attorneys for Defendant West Suburban Medical Center



                                                     /s/ Matthew M. Patterson
                                                     MATTHEW M. PATTERSON, Esq. (6316641)




                                                10
